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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF CALIFORNIA
                                       1301 Clay Street
                                      Oakland, CA 94612
                                        cand.uscourts.gov



                                         July 13, 2020


RE:19-cv-07966-JST Abante Rooter and Plumbing Inc v. Unlocked Business Strategies, Inc.

Default is entered as to Unlocked Business Strategies, Inc.; Merchant Industry, LLC d/b/a
Swipe4Free and Thomas R. Costa on July 13, 2020.


                                                    Susan Y. Soong, Clerk



                                                    by: Jacquelyn Lovrin
                                                    Case Systems Administrator
                                                    (510) 637-1873




REV. 7-19
